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                                    CIVIL COVER SHEET FOR PRISONER CASES

 Case No. 20-11331                                 Judge: Mark A. Goldsmith                Magistrate Judge:   Patricia T. Morris


 Name of 1st Listed Plaintiff/Petitioner:                                Name of 1st Listed Defendant/Respondent:
 KYLE BRANDON RICHARDS ET AL                                              PERTA


 Inmate Number:         641715                                           Additional Information:

 Plaintiff/Petitioner’s Attorney and Address Information:




 Correctional Facility:
 Baraga Maximum Correctional Facility
 301 Wadaga Road
 Baraga, MI 49908
 BARAGA COUNTY




BASIS OF JURISDICTION                                                         ORIGIN
      G 2 U.S. Government Defendant                                                    G 1 Original Proceeding
      G 3 Federal Question                                                             G 5 Transferred from Another District Court
                                                                                       G Other:
NATURE OF SUIT
     G 530 Habeas Corpus
     G 540 Mandamus                                                           FEE STATUS
     G 550 Civil Rights                                                             G IFP In Forma Pauperis
     G 555 Prison Conditions                                                        G PD Paid


PURSUANT TO LOCAL RULE 83.11

1. Is this a case that has been previously dismissed?
           Yes                 No
    If yes, give the following information:
                        Court:
                        Case No:
                        Judge:

2. Other than stated above, are there any pending or previously discontinued or dismissed companion cases in this or any
   other court, including state court? (Companion cases are matters in which it appears substantially similar evidence will
   be offered or the same or related parties are present and the cases arise out of the same transaction or occurrence.)
          Yes                  No
    If yes, give the following information:
                        Court:
                        Case No:
                        Judge:



MIED (Rev. 07/06) Civil Cover Sheet for Prisoner Cases
